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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:09CR249
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
GREG LAMMERS,                                     )
JENNY M. BUCK and                                 )
ANTONIO JUAREZ,                                   )
                                                  )
                     Defendants.                  )
       This matter is before the court on the motions for an extension of time by defendants
Greg Lammers (Lammers) and Antonio Juarez (Juarez) (Filing Nos. 27 and 29).
Defendants seek a continuance of thirty days in which to file pretrial motions in accordance
with the progression order. Lammers has filed an affidavit and Juarez's counsel represents
that Juarez will file an affidavit wherein the defendant consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Lammers's counsel represents that government's counsel has no
objection to the motion. Upon consideration, the motions will be granted and the pretrial
motion deadline will be extended as to all defendants.
       IT IS ORDERED:
       Defendant Lammers's and Juarez's motions for an extension of time (Filing Nos. 27
and 29) are granted. All defendants are given until on or before August 17, 2009, in
which to file pretrial motions pursuant to the progression order. The ends of justice have
been served by granting such motions and outweigh the interests of the public and the
defendants in a speedy trial. The additional time arising as a result of the granting of the
motions, i.e., the time between July 15, 2009 and August 17, 2009, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendants' counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).
       DATED this 15th day of July, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
